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release from custody, nominal monthly payments of at least $250 shall be made during the period of supervised release.
These payments shall begin 60 days after the commencement of supervision. Nominal restitution payments are ordered
as the Court finds that the defendant's economic circumstances do not allow for either immediate or future payment of
the amount ordered.

If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another
priority order or percentage payment is specified.

The additional special assessment of $5,000 pursuant to 18 U.S.C. § 3014 is waived as the defendant is found to be an
indigent person.

The additional special assessment of up to $17,000 pursuant to 18 U.S.C. § 2259A(a)(1) is waived as the defendant is
found to be an indigent person.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Duran Kapulu, is
hereby committed on the Single-Count Information to the custody of the Bureau of Prisons for a term of THIRTY (30)
MONTHS. Defendant is remanded forthwith to the custody of the U.S. Marshal. CR-12 issued to the U.S. Marshal
on this date.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all
necessary treatment.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five years under the
following terms and conditions:

              1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                 Services Office and Second Amended General Order 20-04;

              2. During the period of community supervision, the defendant shall pay the special assessment and restitution
                 in accordance with this judgment's orders pertaining to such payment;

              3. The defendant shall cooperate in the collection of a DNA sample from the defendant;

                      Computer Restrictions

              4. The defendant shall possess and use only those computers and computer-related devices, screen
                 usernames, passwords, email accounts, and internet service providers (ISPs), social media accounts,
                 messaging applications and cloud storage accounts, that have been disclosed to the Probation Officer upon
                 commencement of supervision. Any changes or additions are to be disclosed to the Probation Officer
                 prior to the first use. Computers and computer-related devices include personal computers, internet
                 appliances, electronic games, cellular telephones, digital storage media, and their peripheral equipment,
                 that can access, or can be modified to access, the internet, electronic bulletin boards, and other computers;

              5. All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be
                 subject to search, seizure and computer monitoring. This shall not apply to items used at the employment
                 site that are maintained and monitored by the employer;

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              6. The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The
                 defendant shall pay the cost of the Computer Monitoring Program, in an amount not to exceed $32 per
                 month per device connected to the Internet;

                      Sex Offender Conditions

              7. Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep the
                 registration current, in each jurisdiction where the defendant resides, is employed and is a student, pursuant
                 to the registration procedures that have been established in each jurisdiction. When registering for the first
                 time, the defendant shall also register in the jurisdiction in which the conviction occurred if different from
                 the defendant's jurisdiction of residence. The defendant shall provide proof of registration to the Probation
                 Officer within 48 hours of registration;

              8. The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender
                 treatment program, or any combination thereof as approved and directed by the Probation Officer. The
                 defendant shall abide by all rules, requirements, and conditions of such program, including submission to
                 risk assessment evaluations and physiological testing, such as polygraph and Abel testing. The defendant
                 retains the right to invoke the Fifth Amendment;

              9. As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological
                 counseling or psychiatric treatment, or a sex offender treatment program, or any combination thereof to
                 the aftercare contractor during the period of community supervision. The defendant shall provide payment
                 and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no
                 payment shall be required;

              10. The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
                  drawings, videos, or video games, depicting or describing child pornography, as defined in 18 U.S.C.
                  §2256(8), or sexually explicit conduct depicting minors, as defined at 18 U.S.C. §2256(2). This condition
                  does not prohibit the defendant from possessing materials solely because they are necessary to, and used
                  for, a collateral attack, nor does it prohibit the defendant from possessing materials prepared and used for
                  the purposes of the defendant's Court-mandated sex offender treatment, when the defendant's treatment
                  provider or the probation officer has approved of the defendant's possession of the material in advance;

              11. The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
                  drawings, videos, or video games, depicting or describing child erotica, which is defined as a person under
                  the age of 18 in partial or complete state of nudity, in sexually provocative poses, viewed for the purpose
                  of sexual arousal;

              12. The defendant shall not own, use or have access to the services of any commercial mail-receiving agency,
                  nor shall the defendant open or maintain a post office box, without the prior written approval of the
                  Probation Officer;

              13. The defendant shall not contact the victim(s), or, by any means, including in person, by mail or electronic
                  means, or via third parties. Further, the defendant shall remain at least 100 yards from the victim(s) at all
                  times. If any contact occurs, the defendant shall immediately leave the area of contact and report the
                  contact to the Probation Officer;



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              14. The defendant shall not enter, or loiter, within 100 feet of school yards, parks, public swimming pools,
                  playgrounds, youth centers, video arcade facilities, amusement and theme parks, or other places primarily
                  used by persons under the age of 18, without the prior written authorization of the probation officer;

              15. The defendant shall not associate or have verbal, written, telephonic, or electronic communication with
                  any person under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor;
                  and (b) on the condition that the defendant notify said parent or legal guardian of the defendant's
                  conviction in the instant offense/prior offense. This provision does not encompass persons under the age
                  of 18, such as waiters, cashiers, ticket vendors, etc., whom the defendant must interact with in order to
                  obtain ordinary and usual commercial services;

              16. The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business
                  or organization that causes the defendant to regularly contact persons under the age of 18;

              17. The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business
                  whose principal product is the production or selling of materials depicting or describing “sexually explicit
                  conduct,” as defined at 18 U.S.C. § 2256(2);

              18. The defendant's employment shall be approved by the Probation Officer, and any change in employment
                  must be pre-approved by the Probation Officer. The defendant shall submit the name and address of the
                  proposed employer to the Probation Officer at least ten (10) days prior to any scheduled change;

              19. The defendant shall not reside within direct view of school yards, parks, public swimming pools,
                  playgrounds, youth centers, video arcade facilities, or other places primarily used by persons under the
                  age of 18. The defendant’s residence shall be approved by the Probation Officer, and any change in
                  residence must be preapproved by the Probation Officer. The defendant shall submit the address of the
                  proposed residence to the Probation Officer at least ten days prior to any scheduled move;

              20. The defendant shall submit to a search, at any time, with or without warrant, and by any law enforcement
                  or probation officer, of the defendant's person and any property, house, residence, vehicle, papers,
                  computers, cell phones, other electronic communication or data storage devices or media, email accounts,
                  social media accounts, cloud storage accounts, effects and other areas under the defendant's control, upon
                  reasonable suspicion concerning a violation of a condition of supervision or unlawful conduct by the
                  defendant, or by any probation officer in the lawful discharge of the officer's supervision functions;

              21. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the sex offender
                  risk evaluation to the aftercare contractor during the period of community supervision. The defendant
                  shall provide payment and proof of payment as directed by the Probation Officer. If the defendant has no
                  ability to pay, no payment shall be required; and

              22. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                  judgments and any other financial gains to the Court-ordered financial obligation.

The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health evaluations
or reports, to the treatment provider. The treatment provider may provide information (excluding the Presentence report),
to State or local social service agencies (such as the State of California, Department of Social Service), for the purpose
of the client's rehabilitation.



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The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant poses
a low risk of future substance abuse.

Immediately following sentencing, the defendant shall report directly to the Probation & Pretrial Services Office for
instructions regarding sex-offender registration requirements.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at or before
12 noon, on a date to be determined. In the absence of such designation, the defendant shall report on or before the same
date and time, to the United States Marshal located at the United States Court House, 411 West Fourth Street, Santa Ana,
CA 92701-4597

The Court strongly recommends that the defendant be housed in a Southern California facility to facilitate visitation
with family, friends, and loved ones.

Bond is exonerated.

The Court advised the defendant of his right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            March 26, 2021
            Date                                                  U. S. District Judge Josephine L. Staton

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            March 26, 2021                                  By    M. Kunig
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    As directed by the probation officer, the defendant must notify
       observed in plain view by the probation officer;                                specific persons and organizations of specific risks posed by the
 8.    The defendant must work at a lawful occupation unless excused by                defendant to those persons and organizations and must permit the
       the probation officer for schooling, training, or other acceptable              probation officer to confirm the defendant’s compliance with such
       reasons and must notify the probation officer at least ten days before          requirement and to make such notifications;
       any change in employment or within 72 hours of an unanticipated          15.    The defendant must follow the instructions of the probation officer
       change;                                                                         to implement the orders of the court, afford adequate deterrence from
                                                                                       criminal conduct, protect the public from further crimes of the
                                                                                       defendant; and provide the defendant with needed educational or
                                                                                       vocational training, medical care, or other correctional treatment in
                                                                                       the most effective manner.




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   X The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s behalf.


         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                 to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                 United States Marshal


                                                           By
            Date                                                 Deputy Marshal


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                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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